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                        EXHIBIT 81
               Case 1:24-cv-00648-AARe: Inappropriate
                                          Document    conversations with the kids
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         Subject: Re: Inappropriate conversations with the kids
         From: Arnaud Paris <arnaud@skyvr.com>
         Date: 28/05/2024 00:44
         To: Heidi Brown <heidimparis@gmail.com>

         Heidi, here are what the girls told me on that few minutes call today:
         1) They feel their life isn't fair right now in relation to you keeping me from having video
         calls with them several times a week like you were able to have with them when they were in
         France. Clearly they're not happy about this situation.
         2) They complained that you've changed their last name in school and they said they want to be
         able to go back to Paris. How could you do such a horrible thing as changing their last name,
         that's their identity you're depriving them of. And you've clearly lied to them about why
         you've taken them to Oregon and why they're missing the rest of their school year in France.
         On the previous call they even mentioned that you had shown them court documents "with the
         signature of a judge at the bottom". Heidi I don't even have words on how worrying it is that
         you're telling these things to our children.
         3) They asked about their friends in France and they seemed really worried that you've
         uprooted them from their rich and healthy social environment in the middle of the school year.
         They're really worried about the impact this sudden, unplanned and unannounced departure is
         having on their friends in Paris they've known since they're 2! They're also worried about the
         all the events and school important events they were supposed to have and that they had been
         preparing sometimes for months.
         4) At hearing them in such disarray about this situation of having been taken in the middle of
         their school year I mentioned to them that I was going to make things right and that they
         didn't have to be worried, you hang up on me at that point. Clearly trying to silence me when
         I'm telling the kids what they're desperately wanting to hear form their father that they
         barely have any communication with since you've kept on making calls mostly in the middle of
         the French night knowing very well I couldn't answer cause I would be asleep. This type of
         behavior at keeping the girls from talking to their father is so shocking and concerning that
         I'm worried about your ability at being a parent to our daughters at this point.
         Heidi your parental dictatorship censorship has to stop immediately. I need to be allowed to
         talk to my kids on video without you conducting parental alienation and psychological pressure
         on our children the way you're doing it consistently since you've abducted them from France
         criminally more than 7 weeks ago.
         The kids do want to speak to me clearly but they don't want you to do it supervised and
         censored by you in these conversations. They also want to be able to have direct communication
         with me not when you decide but when they want. They also want to have communication with me
         in video and they don't understand why you're doing it this way. On top of that you're clearly
         conducting extreme parental alienation onto our children.
         Please come back to our senses, bring back the kids to France immediately and resume the
         mediation we had started there a few days before you conducted this abduction.
         Arnaud
         On 27/05/2024 23:12, Heidi Brown wrote:
          Arnaud,
          I am sad to see that you continue to insist on having inappropriate conversations with the
          kids. We have discussed this before on the phone and I am sad to see it continue. This makes
          the kids feel uncomfortable and also like you aren't interested in actually talking to them.
          More and more it is a struggle to get them to agree to call you and this behavior compounds
          the problem. I would like to have some assurance that you can control yourself on the next
          call in the interest of maintaining a relationship with the kids.

          The kids have requested a break from calls with you and I am not going to push the issue for
          the next 10 days or so.
          Heidi



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